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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   PALM BEACH DIVISION

                                   CASE NO. 9:21-cv-81012-AMC


  KESHA C. PERKINS,

                 Plaintiff,

  vs.

  WESTERN WORLD INSURANCE
  COMPANY,

                 Defendant.
                                                  /

                      JOINT MOTION TO APPOINT NEUTRAL UMPIRE
         Defendant, Western World Insurance Company ("Western" or “Defendant”), and the

  Plaintiffs, Kesha Perkins (“Plaintiff”) by and through their undersigned counsel (collectively

  referred to as the “Parties”), hereby files this Joint Motion to Appoint Neutral Umpire, and in

  support thereof, states as follows:

         1.      On October 14, 2021, the Parties filed their Notice of Filing Stipulation and

   Agreement. [D.E. 35].

         2.      Pursuant to the agreement entered into between the Parties, the Parties stipulated to

   submit this matter to binding appraisal and that all issues will be completely resolved by the

   appraisal panel’s award and the stipulations and agreements, as reflected in the Stipulation and

   described more fully therein. [D.E.35].

         3.      A Joint Motion to Abate the Proceedings Per Stipulation and Agreement was filed

   and ultimately granted by this Court. [D.E. 36 and D.E. 39].
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         4.      The Plaintiff has named Ariel Martin Caribbean Inspectors and Consultants, Inc.

   (“Caribbean Inspectors”) as its appraiser. The Defendant has named Anthony Allogia with All

   Claims Repairs, Inc. (“All Claims”) as its appraiser (collectively “appraisers”).

         5.      On October 26, 2021, October 29, 2021, and November 4, 2021, All Claims sent

   its list of twelve (12) proposed umpires to Caribbean Inspectors.

         6.      On November 22, 2021, Caribbean Inspectors advised that they did not agree to

   any of the proposed umpires submitted by All Claims and provided a list of two (2) potential

   umpires.

         7.      That same day, All Claims advised that it was not in agreement and provided ten

   (10) additional names for the parties to select from.

         8.      Caribbean Inspectors advised it did not agree with the additional names proposed

   by All Claims, and informed All Claims that the Parties would need the Court to appoint an

   umpire.

         9.      The Policy’s appraisal provision provides for the appointment of an umpire by the

   Court in the event the parties’ appraisers are unable to select an umpire.

  The appraisal provision of the Policy states:

  F. Appraisal
  If you and we fail to agree on the amount of loss, either may demand an appraisal of the loss. In
  this event, each party will choose a competent and impartial appraiser within 20 days after
  receiving a written request from the other. The two appraisers will choose an umpire. If they
  cannot agree upon an umpire within 15 days, you or we may request that the choice be made by
  a judge of a court of record in the state where the "residence premises" is located. The
  appraisers will separately set the amount of loss. If the appraisers submit a written report of an
  agreement to us, the amount agreed upon will be the amount of loss. If they fail to agree, they
  will submit their differences to the umpire. A decision agreed to by any two will set the amount
  of loss.
  Each party will:
           1. Pay its own appraiser; and
           2. Bear the other expenses of the appraisal and
              umpire equally.
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  A copy of the Policy is attached hereto as Exhibit A, p. 15 of 24 of Form HO 00 03 05 11.

         10.     The parties’ appraisers have been unable to agree to an umpire. As such, the parties

  request this Court appoint an umpire so that this matter may proceed through appraisal in a timely

  manner and in accordance with the Joint Stipulation and Agreement reached by the Parties.

  Pursuant to the Policy, all necessary provisions, requirements, terms, and conditions for the Court

  to appoint an umpire have been met.

         11.     An appraisal umpire’s role is to evaluate the claim and to determine which

  appraiser’s figures are correct. See Allstate Ins. Co. v. Martinez, 790 So. 2d 1151, 1152 (Fla. 3d

  DCA 2001), approved, 833 So. 2d 761 (Fla. 2002) (“Appraisers are expected to act on their

  expertise. They need to meet only to iron out any differences in their opinions.”).

         12.     Under the plain language of the policy, a decision agreed to by any two of the three

  participants - the two appraisers and the one umpire - is binding. Therefore, the umpire’s role is

  critical in determining the amount of the loss. Because an umpire acts, essentially, as a third

  appraiser, an umpire should have sufficient knowledge or expertise to determine the scope of

  damage and the appropriate cost to repair same.

         13.     As discussed by Florida’s Third District Court of Appeal, “in order to perform

  competently as an appraiser…common sense require[s] that an appraiser must have experience in

  the estimation of materials and labor costs for the repair and replacement of damaged property.”

  Noa v. Fla. Ins. Guar. Ass’n., 215 So. 3d 141, 143 (Fla. 3d DCA 2017).

         14.     Further, “professional construction industry expertise. . . should be ‘baked into’ the

  appraisers’ and umpire’s computations, and not left open for a re-appraisal or for a determination

  by the court.” Id. Accordingly, a neutral property appraisal umpire should have expertise with first
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  party property claims and/or construction, so as to be able to make their own independent

  evaluation of the claimed loss.

         15.     The parties have conferred on this matter and selected the following umpires for

  the Court’s consideration.

         16.     Plaintiff has requested the Court appoint one of the following candidates to serve

  as the umpire in this matter:

         Scott Thomas

         Mario Rios

         17.     Defendant has requested the Court appoint one of the following candidates to serve

  as the umpire in this matter:

         Tom Wareham

         David Justice

         Peter Kapas

         Rick Zengler

         Jon Doan

         Richard Collins

         Wherefore, Plaintiff, Kesha Perkins, and Defendant, Lexington Insurance Company

  request this Honorable Court enter an Order appointing one of the above proposed candidates to

  serve as umpire in the appraisal process.

  Dated: January 19, 2022

  Respectfully submitted by:
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    By: _/s/ J. Bruno De La Fuente                    By: Steven C. Teebagy
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                                CERTIFICATE OF SERVICE

         WE HEREBY CERTIFY that on the 19th day of January 2022, we electronically filed
  the foregoing document with the Clerk of the Court using CM/ECF. We also certify that the
  foregoing document is being served this day on all counsel of record or pro se parties identified on
  the attached Service List in the manner specified, either via transmission of Notices of Electronic
  Filing generated by CM/ECF or in some other authorized manner for those counsel or parties who
  are not authorized to receive electronically Notices of Electronic Filing.
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                                      SERVICE LIST

                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   PALM BEACH DIVISION

              KESHA C. PERKINS V. WESTERN WORLD INSURANCE GROUP

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